Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pagel of 41

United States Bankruptcy Court

721 19" Street
Denver, CO 80202 cheat een
720 904 7300
Honorable Judge Kimberely Tyson

FEB - 6 2024
February 6, 2024

RE: Case #23-15137 Dr. Kelly Kendall White

U.S. BANKRUPTCY COURT
DISTRICT OF COLOR-.DO
Li

To whom it may concern:

The former employees of Dr. Kelly Kendall White are hereby filing a formal Objection to the Motion to
Disallow Proof of Claims Ordered by the Court on January 26, 2024 for Creditor #9 Sasha Dudnikoff for the
amount $1930.00, #10 Vicki A Gesford for the amount of $8306.25 and Creditor #11 Jeanette Sigala for
the amount of $12,475.00 with subsequent back wages entered for each under Part 2 section 7.

The determination by Dr. White’s attorney, Stephen Berken via email dated on Wednesday, January 24,
2024 was to claim Dr. White was not our employer pursuant to C.R.S. 8-4-101(6) which is incorrect. Please
see our articles of exhibit proving Dr. White was, in fact, our employer during the time our wages were
earned per C.R.S. 8-4-101 (14) a. and b. and C.R.S. 8-4-101 (15).

Exhibits:

1.

2.

Motions to Disallow Proof of Claims January 26, 2024.

Letter to Stephen Berken dated August 5, 2023 including our Demand for Demand for Payment of
Wages and a follow up letter to Stephen Berken dated August 8, 2023. A third attempt to collect
our back pay sent to Mr. Berken via email October 29, 2023.

Signed Separation Agreements by Dr. Kelly White relieving us of our employment due to the office
closure.

Proof of Claims submitted to the Court on November 20, 2023, and a fetter from Mr. Berken to
Jeanette Sigala and Vicki Gesford dated January 17, 2024, expressing concerns about the validity
of our POCS and the OSHA Bichazard that was discovered by Patterson Dental on July 6, 2023 and
the subsequent treatment of patients that were waiting on permanent restorations to complete
the cases that had been paid for. In NO way did we knowingly subject ourseives to the OPIM to
garner or increase our payroll.

Attempts for Dr. White to reconcile our payroll for December 1, 2022-December 31, 2022, on
january 30, 2023, via ADP Statements and Direct Deposits showing him to be our employer.
Personal checks in the amount of $500 dated March 22, 2023 that were declined to NSF.
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page2 of 41

6. Excel spreadsheets detailing our earnings from January 1, 203-July 31, 2023.

7. Bank Statement dated July 31, 2023, for Dr. Kelly K. White, D.D.S., PC. DBA Auraria Dental Oasis.
Proof Dr. White was our employer.

8. Employee Retention Tax Credits that were approved and intended to be used for our wages
through Innovative Refunds that were submitted by the POE (Intandem) to the IRS who paid Dr.
White’s employes during those quarters initialed and accepted by Dr. White.

We would also like to Plead and Request our Demand for Payments for our entire earnings be Granted for
the following reasons:

1. Income Tax and potential penalties that may be assessed for non-payment for 2023.

2. Health concerns due to Diabetes and other stresses incurred along with the OPIM exposure from
the unknown OSHA biohazard in the environment for an 18-month period.

3. Undue stress with the financial burden of having to use credit cards and other resources to cover
our lack of income that was promised to us not only by our employer but the owners of the new
LLC that procured and benefitted from Dr. White’s practice and his assets.

4. Unexpected loss of employment and income due to office closure.

We are presenting this letter and all documents to the Court in Person to fulfill our deadline for Objections
of February 28, 2024, and prior to the Amended Chapter 13 Pian to be filed on February 7, 2024.

Please make note of Jeanette’s mailing address since Mr. Berken states he does not have it on file and her
documents were sent to me.

Thank you,
Signed: Signed:
Vicki A. Gesford Jeanette M. Sigala

Dated: 2-4 Qajge Dated: 2-6-30AY
025806

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page3 of 41

EXHiB iT |

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re:
Bankruptcy Case No. 23-15137 KHT
Dr. Kelly Kendall White,
Chapter 13
Debtor.

ORDER FOR COMPLIANCE WITH APPLICABLE RULES OF PROCEDURE
REGARDING SERVICE AND NOTICE

THIS MATTER comes before the Court on the Motion to Disallow Proof of Claim
No. 41 of Creditor Jeanette M. Sigala filed by Debtor Kelly Kendall White (“Movant’) on
January 25, 2024 (Docket No. 42). The Court finds that Movant has failed to comply
with applicable rules of procedure, noted more specifically below:

IX! Fed.R.B.P. 3007 (a)(2)(A): failure to serve a copy of the Claim Objection and
9013 notice on the Claimant by first-class mail to the person most recently
designated on the claimant's original or amended proof of claim as the
person to receive notices.

Accordingly, IT 1S HEREBY ORDERED that Movant must cure the above-
noted deficiency by the cure date listed below, failing which the Motion will be denied
without further notice.

Deficiency Cure Date: February 2, 2024.

DATED this 26th day of January, 2024.
BY THE COURT:

halen H Th —

Kimberley H. Tyson
United States Bankruptcy Judge

532708025831027
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Paged4 of 41

EXHIBIT |

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re:
Bankruptcy Case No. 23-15137 KHT
Dr. Kelly Kendalt White,
Chapter 13
Debtor.

ORDER FOR COMPLIANCE WITH APPLICABLE RULES OF PROCEDURE
REGARDING SERVICE AND NOTICE

THIS MATTER comes before the Court on the Motion to Disallow Proof of Claim
No. 10 of Creditor Vicki Anne Gesford filed by Debtor Kelly Kendalf White (“Movant”)
on January 25, 2024 (Docket No. 40). The Court finds that Movant has failed to comply
with applicable rules of procedure, noted more specifically below:

IX] Fed.R.B.P. 3007 (a)(2)(A): failure to serve a copy of the Claim Objection and
$013 notice on the Claimant by first-class mail to the person most recently
designated on the claimant's original or amended proof of claim as the
person to receive notices.

Accordingly, IT IS HEREBY ORDERED that Movant must cure the above-
noted deficiency by the cure date listed below, failing which the Motion will be denied
without further notice.

Deficiency Cure Date: February 2, 2024.

DATED this 26th day of January, 2024.
BY THE COURT:

hale, H Th —

Kimberley H. Tyson
United States Bankruptcy Judge

025806 52708025831018
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Paged5 of 41

EXH(B IT Cases lobY

Vicki Gesford
4375 Pierce Street
Wheat Ridge, CO 80033

720 917 5114

Berken Cloyes PC
1159 Delaware Street
Denver, CO 80204

303 623 4357 Ext. 227
August 5, 2023
Dear Mr. Berken.

I am attaching documents pertaining to Kelly K. White, DDS regarding lack
of payment for wages earned from January 1, 2023, through July 31, 2023
for myself, Jeanette Sigala and Sasha Dudnikoff.

Since the discovery of an OSHA compliance issue, the office was closed, and
I was advised not to return by Alarik Skarstrom part owner of Denco Oasis
Dental Associates, LLC. Jeanette, however, was encouraged to stay on to
help finish packing up the office, putting herself at risk in a documented
hazardous environment.

Additionally, Mr. Skarstrom told me to “go have a nice vacation”, said not to
worry about the office and asked me for some deposit slips claiming he would
be putting money into my account while I was gone. I received several text
messages from him reiterating the condition of the office and the pending
bankruptcy for Dr. White and that the result was there was no more money,
the office was closed and that I no longer had a job. He also indicated the
“Government” was going to be responsible for our back pay but that there
would be a “cap” since it was to include some type of pay out for him, as well,
even though he was not an employee of Dr. White. Ever since he came into
the office, he has been compensated financially with money earned from Dr.
White’s practice, but nothing has been paid out of the office nor has he
invested any money into the office personally or through the new LLC., which
he and Michelle Thornton, RDH formed on July 4, 2023.

He accused me of threatening Michelle and told me not to contact her
because I mentioned I was going to seek some Legal advice. There had been
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pageé6 of 41

a previous amicable working relationship with Michelle that has now been
compromised because of his involvement. As a matter of fact, he used Dr.
White’s phone to contact me yesterday, which has breached any prior trust
or confidence I had with Dr. White.

Since there was only speculation to retain employment as a part of the new
business entity, Denco Oasis Dental Associates, a recommendation made to
me, was to draw up a Separation Agreement which would enable the three of
us to apply for Unemployment Benefits and search for work. As far as the
ERTC that was applied for, there are no guarantees that the IRS will process
it and still we will have to wait for our wages. To add to our ongoing stress
and anxiety, Michelle and Alarik are now in total control of Dr. White’s bank
account, (DBA Auraria Dental Oasis), so even if the funds were deposited, we
question whether our hours would even be called in to the Payroll Service.

For this reason, we are demanding payment of wages from all parties
involved and notable penalties that will be assessed if payments are not made
within 14 days of receiving this Demand. Both Mr. Skarstrom and Michelle
Thornton promised to absorb Dr. White’s debt prior to his bankruptcy and
even if a bankruptcy is filed, the burden of responsibility falls on all parties
to pay our wages since they have taken possession of all of Dr. White’s assets
except for the sale of his home in Golden, CO. Please note, we have not added
in any raises as Alarik strongly suggested, so these are actual pay rates for
the services we provided to our employer during the time of our employment.

We seek your assistance in this matter and look forward to being made whole
financially, as promised, and per your initial consultation with Dr. Kelly
White and Mr. Alarik Skarstrom regarding our backpay.

Thank you for your consideration.

Sincerely,

Vicki A. Gesford
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page7 of 41

THIS COURTESY FORM IS PROVIDED BY THE DIVISION OF LABOR STANDARDS AND STATISTICS.
THE DIVISION HAS MADE NO DETERMINATION AS TO THE VALIDITY OF THE DEMAND.

DEMAND FOR PAYMENT OF WAGES & 118/72

TO: Kelly K White, D.D.S., P.C. FROM: Jeanette M. Sigala
(EMPLOYER/BUSINESS/COMPANY NAME) (EMPLOYEE NAME)
Araria Dental Osis E.D.D.A., Front Desk Receptionist
(OWNER/OFFICER/MANAGER LIABLE FOR WAGES) (OB TITLE)
Kelly K. White 11603 Josephine St
(MAILING ADDRESS) (MAILING ADDRESS)
1391 Speer Blvd., Suite 525 Thornton, Colorado 80233
(CITY, STATE, ZIP) (CITY, STATE, ZIP)
Denver, Colorado 80204 lsigala34@msn.com
(EMAIL ADDRESS) (EMAIL ADDRESS)

Under Colorado Revised Statutes Title 8, Article 4, I formally demand the following wages I am owed:

Total dollar amount that I believe I am owed: $53,865.00(1539x$35)
(the amount may be approximate, or subject to change if evidence shows a different amount)

Description of the wages or compensation awed (another sheet may be attached if needed):

Total wages not received for period of 01/01/2023- 07/31/2023. Office closed and
vacated due to OSHA compliance issue along with an eviction notification.

Under Colorado law. if, within 14 days of the sending of this demand, you fail to pay wages found to be owed, you will
have violated Colorado labor law. and will be ordered to pay more than just the wages owed:

© im addition to the full wages owed. a penalty of 200% of the wages owed or $1,000.00, whichever is greater
(C.R.S. § 8-4-109):

© ifthe violation is found to be “willful,” the above penalty increases to 300% of the wages owed or $3,000.00,
whichever is greater: and

® fines of up to $50 per day, to the State of Colorado, from the date the wages became due (C.R.S. § 8-4-1213).
For more on how penalties and fines increase liability for unpaid wages, see the Division's Employer FAQs resource.”*
Please also note:

® Ifthe Division finds an employer violated Colorado labor law, the Division publishes the violation on its website, on
its spreadsheet of violations and/or its decisions webpage.

© An individual owner, offtcer, manager, or supervisor — not just the employer as a business or entity — may
be found to be personally liable for, and responsible to pay, all amounts owed for unpaid wages.

Please make payment to me by this method (select only I of 3 options and fill in the corresponding fields):

Mail to my address listed above

Direct deposit or transfer to: [ Ivy bank account you have on record for paying my wages: or

his account #( ) and routing #( )
uv Other payment method: ADP Payroll method

abe, 08/05/2023
Employee Signature Date

*All wages or compensation are due, and must be paid, on regular paydays by 10 days after each pay period ends, unless we agreed on
a different period. C.R.S. § 8-4-103(1)(a). Employees who quit or resign must be paid the next regular payday: terminated employees
must be paid immediately, with limited exceptions: if an accounting unit for payroll is offsite, 24 hours after its next regular workday
starts: if that unit is not scheduled to operate that day. six hours after its next regular workday starts. C.R.S. § 8-4-109(1)(a),(b).
**https.//cdle, colorado .gov/wage-hour-claimn-investigations-employer-fags.

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pages of 41

THIS COURTESY FORM IS PROVIDED BY THE DIVISION OF LABOR STANDARDS AND STATISTICS.
THE DIVISION HAS MADE NO DETERMINATION AS TO THE VALIDITY OF THE DEMAND.

DEMAND FOR PAYMENT OF WAGES €¢1!'8/T -

TO: Kelly K. White, D.D.S., P.C. FROM: Vicki A Gesford

(EMPLOYER/BUSINESS/COMPANY NAME) (EMPLOYEE NAME)

Kelly White, Michelle Thornton, Alarik Skarstrom Office Manager, Front Desk
{OWNER/OFFICER/MANAGER LIABLE FOR WAGES) (JOB TITLE)

Auraria Dental Oasis 4375 Pierce Street

(MAILING ADDRESS) (MAILING ADDRESS)

1391 Speer Blvd., Suite 525 Denver, Colorado 80033
(CITY, STATE, ZIP) (CITY, STATE, ZIP)

Denver, Colorado 80204 vgbzyb@yahoo.com

(EMAIL ADDRESS) (EMAIL ADDRESS)

Under Colorado Revised Statutes Title 8, Article 4, I formally demand the following wages I am owed:

Total dollar amount that I believe I am owed: $21,187.50 (847.5 x $25)
(the amount may be approximate, or subject to change if evidence shows a different amount)

Description of the wages or compensation owed (another sheet may be attached if needed):

Total wages owed from 01/01/2023-07/31/2023. Office closed and vacated due to
an OSHA compliance issue and eviction. Business acquired by parties above.

Under Colorado law, if, within 14 days of the sending of this demand, you fail to pay wages found to be owed, you wilt
have violated Colorado labor law, and will be ordered to pay more than just the wages owed:

e in addition to the full wages owed, a penalty of 200% of the wages owed or $1,000.00, whichever is greater
(C.R.S. § 8-4-109);

® if the violation is found to be “willful,” the above penalty increases to 300% of the wages owed or $3,000.00,
whichever is greater; and
e fines of up to $50 per day, to the State of Colorado, from the date the wages became due (C.R.S. § 8-4-113).

For more on how penalties and fines increase liability for unpaid wages, see the Division’s Employer FAQs resource.
Please also note:
e Ifthe Division finds an employer violated Colorado labor law, the Division publishes the violation on its website, on

its spreadsheet of violations and/or its decisions webpage.

@ An individual owner, officer, manager, or supervisor — not just the employer as a business or entity — may
be found to be personally liable for, and responsible to pay, all amounts owed for unpaid wages.

Please make payment to me by this method (select only | of 3 options and fill in the corresponding fields):
Mail to my address listed above
Direct deposit or transfer to: [|My bank account you have on record for paying my wages; or

is account #{ } and routing #( })
W | other payment method: ADP Payroll Service _

ey Whe 9 ¢/o 5/2033

Employee Signature U/ Date

*Ail wages or compensation are due, and must be paid, on regular paydays by 10 days after each pay period ends, untess we agreed on
a different period. CRS. § 8-4-103(1(a}. Employees who quit or resign must be paid the next regular payday; terminated employees
must be paid immediately, with limited exceptions: if an accounting unit for payroll is offsite, 24 hours after its next regular workday
starts; if that unit is not scheduled to operate that day, six hours after its next regular workday starts. C.R.S, § 8-4-109( 1)(a).(b).

** . ¥, - :
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page9 of 41

THIS COURTESY FORM IS PROVIDED BY THE DIVISION OF LABOR STANDARDS AND STATISTICS.
THE DIVISION HAS MADE NO DETERMINATION AS TO THE VALIDITY OF THE DEMAND.

DEMAND FOR PAYMENT OF WAGES 24/8 (TH

TO: Kelly K. White, D.D.S., P.C. FROM: sasha Dudnikoff
(EMPLOY ER/BUSINESS/COMPANY NAME) (EMPLOYEE NAME)
Auraria Dental Oasis Front Desk Reception
{OWNER/OFFICER/MANAGER LIABLE FOR WAGES) GOB TITLE)
Kelly White, Michelle Thornton, Alarik Skarstron 7475 W. 23rd Avenue
(MAILING ADDRESS) (MAILING ADDRESS)
1391 Speer Bivd., Suite 525 Lakewood, Colorado 80214
(CITY, STATE, ZIP} (CITY, STATE, ZIP)
Denver, Colorado 80204 sashadeal4me@outlook.com
(EMAIL ADDRESS) (EMAIL ADDRESS)

Under Colorado Revised Statutes Title 8, Article 4, I formally demand the following wages I am owed:

Total dollar amount that I believe 1am owed: $1,930.00 (96.5 x $20)
(the amount may be approximate, or subject to change if evidence shows a different amount)

Description of the wages or compensation owed (another sheet may be attached if needed):

Total wages owed from 01/01/2023-03/31/2023. Office closed and vacated due to
an OSHA compliance issue and eviction notice. ADO acquired by parties above.

Under Colorado law, if, within 14 days of the sending of this demand, you fail to pay wages found to be owed, you will
have violated Colorado labor law, and will be ordered to pay more than just the wages owed:

e in addition to the full wages owed, a penalty of 200% of the wages owed or $1,000.00, whichever is greater
(CRS. § 8-4-109);

e ifthe violation is found to be “willful,” the above penalty increases to 300% of the wages owed or $3,000.00,
whichever is greater; and

e fines of up to $50 per day, to the State of Colorado, from the date the wages became due (C.R.S. § 8-4-113).

For more on how penalties and fines increase liability for unpaid wages, see the Division’s Employer FAQs resource.”

Please also note:
e Ifthe Division finds an employer violated Colorado labor law, the Division publishes the violation on its website, on

its spreadsheet of violations and/or its decisions webpage.

¢ An individual owner, officer, manager, or supervisor — not just the employer as a business or entity — may
be found to be personally liable for, and responsible to pay, all amounts owed for unpaid wages.

Please make payment to me by this method (select only / of 3 options and fill in the corresponding fields):

Mail to my address listed above
Direct deposit or transfer to: [|My bank account you have on record for paying my wages; or

This account #( }and routing #{ }
v Other payment method: ADP | Payroll Service

A somal | 08/05/2023

Employee Signature ' {/ Date

*All wages or compensation are due, and must be paid, on regular paydays by 10 days after each pay period ends, unless we agreed on
a different period. CRS, § 8-4-103(])(a). Employees who quit or resign must be paid the next regular payday; terminated employees
must be paid immediately, with limited exceptions: if an accounting unit for payroll is offsite, 24 hours after its next regular workday
starts; if that unit is not scheduled to operate that day, six hours after its next regular workday starts. C.R.S. § 8-4-109(1)(a).(b),

ek ‘ mei sat

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pagei10 of 41

‘

EHLBIT &
4° f of a
Vicki Gesford
4375 Pierce Street
Wheat Ridge, CO 80033
720 917 5114
Berken Cloyes PC

1159 Delaware Street
Denver, CO 80204

303 623 4357 Ext. 227
August 8, 2023
Dear Mr. Berken,

After giving it some thought, this is a follow up letter from August 5, 2003
whereby I would like to share more information pertinent to my dismissal.

I was formally asked not to come into the office after the OSHA compliance
issue was found except for cancelling patients that were in the schedule for
hygiene and treatment that was supposed to be completed because Jeanette
was out of town attending a funeral. There were patients in the schedule that
had appointments because Jeanette booked them to which I left messages to
cancel and did not have any indication of when to reschedule. Jeanette took
it upon herself to schedule the appointments I had cancelled because we were
supposed to get the cases from the lab, which did not happen, apparently
because the lab was requesting payment. Mr. Skarstrom told me the lab was
willing to work with us, but some patients were not able to receive their
permanent crowns. One patient, Rochelle Cohen a friend of Dr. White’s,
Jeanette booked for Dr. White to perform a crown prep and the lab sent the
case, so Jeanette scheduled her to cement the permanent crown. I was asked
to come into the office for a few extra hours to pack up important documents
that were stored in my drawer at the front desk on July 14, 2023, before
leaving town, but nothing was said to me when Alarik stopped by the office
to pick up another check. I was supposed to meet with Alarik and Michelle
when I got back from my vacation about this issue, but I just could not bear
the thought of him yelling at me about something I did not do to his liking or
specifications as much as I tried to explain it wasn’t me.

The truth of the matter was that we had gotten to a point where he had helped
cleaned up all the fraudulent activity in Dr. White’s business account and a
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pagei1i of 41

new one was opened. We took Dr. White off the account, and I became the
only signer. We were starting to turn the corner when he told me he wanted
to be paid the money that Dr. White owed him for supporting him for many
years. Although my loyalty was to Dr. White, Alarik started making decisions
because he was given legal authority. He was allocating money for Jeanette
and I each week to sustain us and was also asking for funds for himself.
Maybe if we had had a bit more time to build up the business account, or
even if the refinance of his house had gone through, things would have been
different, but everything happens for a reason, doesn’t it?

Jeanette and I put in many long hours working to improve and maintain Dr.
White’s dental practice for the past 18 months. I never thought I would be
terminated so abruptly, since there was an exit letter Michelle composed
stating that we would remain an integral part of the new company they were
forming. I tried my best to help with this endeavor but was told they did not
need my help. This was texted to me by Alarik on Sunday, July 23, 2023,
while I was on vacation with my family. When I asked Michelle if she would
be willing to make a deposit of $1000.00 in my account to help me cover my
first of the month expenses, Alarik sent me a message from Michelle’s phone
instructing me not to have any more contact with her because seeking legal
advice with the Department of Labor and Employment was perceived as a
threat. I needed to ask some questions about pursuing Unemployment
Benefits because we had no formal Separation Agreement from Dr. White
and there were no earnings reported. I sent the Demand for Payment of
Wages because we need to get paid for tax purposes and waiting on the
Government is too frustrating when we continued to work because our pay
was promised. Plus, we really don’t know what type of health issues we may
face in the future due to the biohazard we were exposed to all those months.

I hope you can understand things from my perspective. It was hard watching
the demise of Dr. White’s business and his subsequent decline in health. I
tried to show compassion toward him because I could sense there was
something wrong that wasn’t his fault. I really do hope he can live out a good
quality of life and Alarik will follow through with his vow to look after him.

Sincerely,
VAX

Vicki A. Gesford
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pagei2 of 41

epee eterna eee eee em ee ee ery

MBIT aH

—— eee e e ee yews eo ge

RE: Follow Up to Demand for Payment of Wages

From: Ms Vicki (vgbzyb@yahoo.com)
To: — stephenberkenlaw@gmail.com

Cc:  sean@berkencloyes.com; calley@realestateproscolorado.com, drkkwhite@gmail.com; vgbzyb@yahoo.com;
lsigala34 @msn.com; sashadeal4me@outlook.com; michellethornton@msn.com; alarik61@gmail.com

Date: Sunday, October 29, 2023 at 06:45 PM MDT

Greetings Mr. Berken and all included Recipients:

This is in regard to our request for payment owed to us by Key K. White, D.D.S., P.C. and the forms submitted for payment of wages owed dated August 5,
2023; shortly afler our employment with Dr. White was terminated effective July 31, 2023..

At that time, Dr. White agreed to sign Separation Agreements on our behalf proving our empicyment which allowed us to apply for Unemployment Benefits
and seek work..

During the time we were employed, Dr. White's dental practice declined financially due to various funding advancements and a failed reverse mortgage. In
the end, we received our December 2022 pay in January 2023 and have not received any 2023 eamings since then. We are concemed about our taxes for
the year and would really like to receive the money owed to us for putting in extremely long hours and fulfilling our duties by trying to keep the practice
operational...

Unfortunately, promises were made to us prolonging our employment and we do not know what the next step is with regard to the sale of Dr. White's home
and the Quarterly Employee Retention Tax Credits that he qualified for. Dr. White had allocated Alarik Skarstrom to legally oversee his creditors and from
what we were told, stated there would be some type of compensation for us through the ERTC, the Sate of his home or the Chapter 7 Bankruptcy.
Throughout this process, Dr. White's business and all of his assets have been procured by Mchelle Thomton, RDH and Mr. Skarstrom who both had agreed

to absorb the debt on Dr. White's behalf.

I spoke with the PEO at Intandem, Pete Sartoris, who's company was responsible for submitting the 2020-2021 payroll to the IRS and he indicated all of the
approved documents had been submitted for the disbursements. He also verified that he had received a voided check from Dr. White's naw bank account
so that our back pay could be called in through ADP. Since at! of the funds have been depleted, is there any way Jeanette, Sasha and | could be assured wa
will receive our 2023 monies respectively; as fo whan and how?

Please respond with any insights, suggestions and/or resolve that may be advantageous to us. We have done our best to be patient in regard to this matter
and would jike nothing better than to close this chapter and get on with our lives.

Thank you.

Vicki Gesford
720 917 $114
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pagei13 of 41

CXHIBIT. 3

Auraria Dental Oasis

1391 Speer Blvd., Suite 525
Denver, Colorado 80204
303 573 5533

July 31, 2023
To whom it may concern,

The following is a Separation Agreement between me, Kelly K. White, D.D.S., P.C.,
DBA as Auraria Dental Oasis and Sasha Dudnikoff, Front Desk Receptionist.

Due to unforeseen circumstances my office has closed, and I have made the decision
to retire as a practicing General Dentist.

Sasha began her employment in July 2022 and worked as a part-time front desk
receptionist. The position required her to answer phones, schedule patients and help
with accounts receivable. She was adept with the computer software and navigated
the system quite easily. Not having any prior dental experience, she was a quick
learner and became proficient in the tasks assigned to her. Patients found her to be
cheerful, personable, engaging and conscientious.

With that being said, I would highly recommend Sasha Dudnikoff for introductory
employment in the dental industry to enable her to grow into a long-term position.

Thank you for your consideration.

Sincerely,

Dr. him
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page14 of 41

Exar 2

Auraria Dental Oasis
1391 Speer Blvd., Suite 525
Denver, Colorado 80204

303 573 5533

July 31, 2023
To whom it may concern,

The following ts a Separation Agreement between me, Kelly K. White, D.D.S., P.C.,
DBA as Auraria Dental Oasis and Jeanette M. Sigala, Chairside Edda/Front Office.

Due to unforeseen circumstances my office has closed, and I have made the decision
to retire as a practicing General Dentist.

Jeanette has been my faithful employee for over 42 years. She started with me on
September 9, 1981, at my original office, Auraria Dental Center at 1443 Kalamath
Street in Denver, Colorado 80204 which relocated to 1050 W. Colfax Avenue, Unit
G, Denver, Colorado 80204 in August 2002. She was instrumental in moving the
entire office and then moved the office a second time to my present location 1391
Speer Blvd, Suite 525 Denver, Colorado 80204. She has an amazing rapport with
patients, speaking both English and Spanish and is highly skilled in performing
Expanded Duties and in general chairside assisting. She has always made herself
available to work until the job was done and is extremely detail orientated. Jeanette
is also experienced in operating the front desk and all aspects of scheduling, billing,
collections, insurance processing and pre-authorizations. Her nature is to be helpful
and accommodating to patients, making them feel comfortable in an often-
uncomfortable situation. I have thoroughly appreciated her service as an integral
part of my practice all these years.

With that being said, I would highly recommend Jeanette Sigala for employment in
all aspects of General Dentistry.

Thank you for your consideration.

Sincerely,
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page1i5 of 41

LX 8/T 3

Auraria Dental Oasis
1391 Speer Blvd., Suite 525
Denver, Colorado 80204

303 573 5533

July 31, 2023
To whom it may concern,

The following is a Separation Agreement between me, Kelly K. White, D.D.S., P.C.,
DBA as Auraria Dental Oasis and Vicki A. Gesford, Receptionist/Office Manager.

Due to unforeseen circumstances my office has closed, and I have made the decision
to retire as a practicing General Dentist.

Vicki began her employment with me in 1990 as a front desk receptionist whereby
she worked for approximately 4 years in downtown Denver. Upon her re-hiring on
February 2, 2022, she has proven herself to be a valuable, experienced, reliable and
loyal employee. She was also an asset in the back office, helping me at chair-side,
assisting with patient care and performing expanded duties when necessary. Our
patients enjoyed and appreciated her friendly and professional demeanor, and she
was instrumental in navigating the tedious tasks and duties associated with the
relocation of my practice. A big part of her responsibility was to verify benefits with
numerous Insurance Companies to ensure the office was up to date with the move
and patients were covered by their plans. She was very good at explaining benefits
to our patients and collected co-payments readily. Vicki also took care of the billing,
accounts receivable and managed our appointment schedule efficiently. She worked
well with the other staff members and pitched in whenever we were shorthanded.

With that being said, I would highly recommend Vicki Gesford for employment in
all aspects of the Dental Industry.

Thank you for your consideration.

Sincerely,

Dr. beg
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Pagei16 of 41
Case 23-15137-KHT Claim11-1 Filed 11/20/23 Desc Other Page 1 of3

EXM BIT

Fucn —
nt

CL” E 7 yy RT

Kelly K. White, ODS, PC

Oebtor 1

Deblor 2
(Spouse, # fing)

United States Bankruptcy Court for the: Distict of

Mil 20 2023

Official Form 410
Proof of Claim 9218

Reed the instructions before filling owt this form, This form is for making a clalm for payment in a bankruptey case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 14 U.S.C. § 503.

Fillers must leave out or redact information that is entifled to privacy on this form or on any atiached documents. Attach redacted copies of any
documents that support the claim, such es promissory notes, purchase orders, Invoices, temized statements of numing accounts, contracts, jucigments,
mortgages, and security agreements. Do not send original documents; thay may be dastroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3577.

Fill in all the information about the claim es of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you recatved,

1. Who is the current ‘
thor? Jeanette M S
Name of the current craditor (the person or entity to be peid for this claim)

Other names the creditor used with the debtor

2. Has this claim been # No

3. Where should notices § Where should notices to the creditor bo sant? Where should payments to the creditor be sent? (if
ard payments to the different)
“ Jeanette M Sigala
Federal Rule of ane ae wane aay
(FRBP) 2002{g) 11603 Josephine Street
Number Street Number Straet
Thornton co 80233
City State ZiP Code City State ZiP Code
Contact phone 720 234 5750 Contact phone
Contact email Contact email

Uniform claim identifier (or electronic payments m chapter 13 (if you use one):

4. Does this claim amend ff No
one simady fled? Cl Yes. Claim number on court claims registry (if known) Filed on

5. Do you know if anyone GW wo
else has a proof >
Sr dec ae a &} ves. Who rina Gye eeibet Stra?

Official Form 410 Proof of Claim page 1
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page1i7 of 41

Case 23-15137-KHT Claimi1-1 Filed 11/20/23 Desc Other Page 2 of 3

| Give Information About the Claim as of the Date the Case Was Flied

8. Do you have any number No
you use to identify the Ves. Last 4 digits of the debtor's account or any number you use to identify the debtor: 9 3.4 ~=C7
7. How much le the clalm? $ 53,865.00 - Does this amount include Intorest or other charges?
@ no

CI Yes. Attach statement itemizing interest, fees, expenses, or other
charges required by Bankruptcy Rule 3601(c}{2)(A).

8. What is the basis of the Examples: Goods sold, money loaned, lease, services performed, Personal injury or wrongful death, or credit card.
fi
claim? Attach redacted copies of any documents supporting the ctalm required by Bankruptcy Rule 3001(c),
Limit disciosing information that Is entilied to privacy, such as heatth care information.

Wages eamed from 01/01/2023-07/31/2023

3. Isallorpartoftheciaim J no
secured? ©) Yes. The claim is secured by a fen on property.
Nature of property:
C) Real estate. if the claim is secured by the debtor's principal rasidence, file 2 Mortgage Proof of Claim
Attachment (Official Form 410-A) with this Proof of Claim.
C? Motor vehicie
CD Other. Describe:

Basis for perfection:
Aitach redacted copies of documents, if any, ihat show evidence of perfection of a security interest (for
exemple, & mortgage, lien, certificate of ttle, financing statement. or other document that shows tha lien has
been filed or recorded.)

Value of property:
Amount of the claim that is secured: §

Amount of the claim that Is unsecured: § (The sum of the secured and unsecurad
€amounts should match the amount in tine TJ

Amount necessary fo cure any defauit as of the date ofthe petition:  §

Annual interest Rate (when case was filed) %

QO) Fixed
© Variable

10. is this claim basedona Of no
tease?
(2 Yes. Amount nacessary to cure any default es of the date of the petition.  $

14. is this claim subjecttoa J No
right of setaff?
C2 Ves. identify the property:

Official Form 410 Proof of Claim cuoe 2?

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page18 of 41

Case 23-15137-KHT Claim11-1 Filed 11/20/23 Desc Other Page 3 of3

|12. ts afl or partof the claim (©) No

entitied to

11 U.S.C. § 607{a}? @F Yes. Check one: Amount entitled to prio
A clain may be partly C} Domestic support obligations {includ alimony and child support) under
priority and partly 11 U.S.C. § 507(aK 1A) of xe). $s
in some leas aie C2 Up to $2,775" of deposits toward purchase, lease, rental of property or services fo!
or or if
taw finiis the amount Personal, family, or household use. #1 U.S.C. § 507(a)\7). $
entitled to priority
(&f Wages, salaties, or commissions (up to $12,475") eamed within 180 days before the 4
bankruptey petition is filed or the debtor's business ends, whichever is exrlier. $ 2,475,
11 U.S.C. § 507(a)(4).
C3 Taxes or penaities owed to govemmental units. 11 U.S.C. § 507(a)(8). $
C2 Contributions to an employee benefit plan. 11 U.S.C, § 507(a)(5). $
Ct Other. Specify subsection of 114 U.S.C. § 507(a)(_) that applies. s
. Amounts are subject to adjustment on 4/01/16 and every 3 years afer thal for cases begun on of after the date of adjustment.
Sign Below
The person Check the appropriate box:
this proof of claim must
sign and cate it. tam the creditor.
FRBP 9041(b). (tam the creditor's attomey or authorized agent.
ff you file this claim Ql tam the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
SOUSA) koe courts (1 Jamaguarantor, surety, endorser, or other codebior. Bankruptcy Rule 3005.
fo establish focal rules

recyies whats consis

A person who files a
fraudutent claim could be
fined up to $560,000,
imprisoned for up to 5
years, or both.

18 U.S.C. $6 452, 157, and
3571.

T understand that an authovized signature cn this Proof of Claim serves as an acknowledgment that when calculating the
amount of the claim, the creditor gave the debtor credil for any payments received toward the debt.

| have examined the information in this Proof of Claim and have a reasonable belief that the information is true
and comerct.

1 deciare under penalty of parury that the faregoing is true and correct.

Executed ondate 11/15/2023

Mi DO f YyYY

Print the name of the person who Is completing and signing this claim:

tame Jeane Ne. Maccell a 2itala.

First name

Title E. Dp A Denta | Asst

Company

ideniily the corporate servicer as the company if the authorized agents a servicer.

Address / Jose. ' st
Number Street
oknton Co FOAZ 3
State

ZIP Code

City
contctprone ‘720-231-2150 ens LSigala 34/@) MSA) C

Official Form 410

Proof of Claim page 3
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page19 of 41

* Case 23-15137-KHT Claim10-1 Filed 11/20/23 Desc Main Document Page 1 of 3

Debtor 2
(Spouse, if fing}

United States Bankruptcy Court for the: Distict of

Case number A3-/6137

Debtor1 Kelly K. White, DDS, PC
NO
U
!

ext Bir 4
Official Form 410
Proof of Claim 12115

Read the instructions before filling owt this form. This form is for making a claim for payment in a banksuptcy case. Do not use this form to
make 2 request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information thal Is entitled to privacy on this form or on any attached documents. Atfach redacted copies of any
documents that support the claim, Such 23 promissory noles, purchase orders, invoices, emtzed statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. if tha documents are not available,
explain in an attachment.

A person whe fites a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3577.

Fill in alt the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received

t. Who is the current Vicki A Gesford
Name of the current creditor (the person or entily fo be paid far this claim)

Other names the creditor used with the debtor

2. Has this clalm been a No
Q Yes. From whom?

someone else?
3. Where should notices Where should notices to the creditor be sent? Where should payments to the creditor be sant? (if
and payments to the diffrent)
creditor. Beisene? Vicki A Gesford
(FRBP) 2002(9) 4375 Pierce Street
Rumber Steet Number Street
Wheat Ridge co 80033
City State ZiP Code City State ZiP Code
Contact phona #20 917 5114 Contact phone
Contact email Contact email

Uniform ciaim identifier for electronic payments in chapter 43 (f you use one):

co te er ome eee ee eee

4. Does this cisim amend & No
one already filed? Q Yes. Claim number on court claims registry (if known) Filed on

MM 70D of ¥YYY

IS. Doyouknowlfanyonre & No
else has fileda proof = (yes. Who made the earlier filing?

of claim for this claim?

Offictal Form 416 Proof of Claim page 1
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page20 of 41

Case 23-15137-KHT Claim10-1 Filed 11/20/23 Desc Main Document Page 2 of 3

FEET ove tatormation Anout tho Cia as ofthe Oate tho Case Wes Filed

(6. Do you have any number O No

you use to identify the EF Ves. Last 4 digits of the debtor's account or any number you use to identify the debtor: 9 3.4 ~—C7

7, How much isthe claim? = -§ 21,456.25. noes this amount inchide interest or other charges?

& No

C1 Yes. Attach statement itemizing interest, fees, expenses, or other
charges required by Bankruptcy Rule 3001(¢){2)(A}.

8, What is the basis of the Examples: Goods said, monay loaned, lease, services performed, personat injury or wrongful death, or credit card.

een? Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).

Limit disclosing information that is entitfed to privacy, such as health care information.

Wages earned from 01/01/2023-07/31/2023

9. isallorpartoftheciaim Ef no

secured? Cl Yes. The claim is secured by a lien on property.

Nature of propesty:

oO Real estate. lf the claim is secured by the debtor's principa! residence, file a Mortgage Proof of Claim
Atfachment (Official Form 410-A) with this Proof of Claim.

CQ Motor vehicte

Cl other. Describe:

Basia for perfection:
Attach redacted copies of documents, if any, thal show evidence of perfection of a security interest (for
example, a mortgage, fen, certificate of tile, financing statament, or other document thal shows the tien has
beer fied or recorded.}

Vatue of property:
Amount of the claim thatis secured: §$

Amount of the claim that is unsecured: $ (The sum of the secured and unsecured
amounts should match the amount in line 7.

Amount necessary to cure any default as of the date of the petition:  §

Annual Interest Rate (when case was filed) %

C2 Fixed
C} Variable

10. Is this claim basedona =} No

igase?
CF Yes. Amount necessary to cure any default as of the date of the petition. $

11. is this claim subjecttoa Ef No

i

right of setoff?
UB Ves. identifythe property; er F

Offical Form 470 Proof of Claim page 2
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page21 of 41

» Case 23-15137-KHT Claim 10-1 Filed 11/20/23 Desc Main Document Page 3 of 3

72. ts all or pert of the claim =} No

entitled to priority under
| 11 U.S.C. § BONA}? & Yes. Check one: Amount entitted to prio
| Actaim may be partly (2 Domestic support obligations (inctudi alimony and child support) under
priority and partly 11 U.S.C. § 507(a}{1A) or feXiXB). ) $
nonprionty. For example,
in some categories, tha C1 Up w 82.775" of deposits toward purchase, tease, o rental of property or services for
| law limits the amount Personal, family, or household use. 11 U.S.C. § 507(a)(7). $
| entitled to priority
i (Ff Wages, salaries, or commissions (up to $12,475") eamed within 180 days before the
bankruptcy petition Is filed or the debtor's business ends, whichever is earlier. § 8,306.
1 USS. § 507(0)(4).
CI Taxes or penatties owed to govemmental units. 11 U.S.C. § 507(a)(8). $
(2 Contibutions to an employee benefit plan. 14 U.S.C. § 507(a)(5). $
| C2 Other. Specify subsection of 11 U.S.C. § 507(a)(__) that appties. $
. Amounts are subject to adjustment on 4/01/18 and every 3 years afer that for cases begun on of after the date of adjustment
rea Sign Balow
The person completing Chack the appropriate box:
this proof of clakn must
sign and dato it. a 1 am the creditor.
FREP 6017(b). Ql 1am the creditor's attomey or authorized agent.
you file this claim oO 1 am the tustes, or the debtor, or their authorized agent. Bankruptcy Rule 3004,
SO0SGAN2) eetveet na courts [2 {am a guarantor, surety, endorser, or other codebtor. Baniouptcy Rule 3005.
to establish local rules

ia ying 8 segni understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when catculating the
amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a

fraudulent claim could be | pave examined the information in this Proof of Ciaim and have a reasonable bolief that the Information is true
fined up to $500,000, and correct

imprisoned for up ta &

yee, of bath. {declare under penalty of perjury that the foregaing Is true and correct.

18 U.S.C. §§ 152, 157, and
3871.

Executed on date 11/18/2023
MMi OD / YrYY

Lith Spend

Print the name of the parson wha fs completing and signing this claim:

meas Vices _Aawie GES FORD
First name Middla name Last name

Tile OFFILE MANAG&E, Foner DESK

Company

Identity the corporate servicer as the company if the authenzed agent is a servicer.

aaron Y2765 fle CCE STREET
Number Street
WHAT EDGE Ce $0623
City

Stile ZIP Code

Contact phone TAO FI7 STE Emait Mg e254 b@uyahpo Co

Official Form 410 Proof of Claim page 3
¥

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page22 of 41
*, Case 23-15137-KHT Claim 9-1 Filed 11/20/23. Desc MainDocument Page 1 of 4

7

FD
CLEP! ART

Dettr1 Kelly K. White, DDS, PC

a
NOV 2.0 2023 |

aes oe 7 |
SHH BIT 4

Debtor 2
(Spouse, # fing)

United States Bankruptcy Court forthe: istrict of Colorado

Official Form 410
Proof of Claim 41246

= ate
Read the Instructions before filling out this form. This form Is for making a claim for payment in a bankruptcy case. Do not use this form to
make a raquast for payment of an administrative expense. Make auch a request according to 14 U.S.C. § 603.
Filers must leave out or redact information that is entitied to privacy on this form or on any altached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, Judgments,

1. Who Is the current Sally Dudnikoff
Name of the current creditor (ihe person or entily to be paki for this aim)

Other names the creditor used with the debtor Sasha Dudnikoff ia isms

i2. Has this claim been 4 No
eee sto O) Yes. From whom?

someone else?
3. Where should notices Where should notices to the creditor be sent? Where should payments to the creditor be sent? (if
and payments to the diffarent)
creditor be sent? Sally Dudnikoft Sally Dudnikoff
Federal Rute of Name ee
Bank Proced
(FRBP) 2002(9) “7475 W.23rd Avenue 7475 W.23rd Avenue
Number Steet Number Street
Lakewood co 80214 Lakewood, Co 80214
City State ZiP Code = City Stats ZIP Code
Contact phone 303 883 5451 Contec phase Semcon
Contact emay SaShadeal4me@outlook.com Contact ema SAShadeal4me@outlook.com

Uniform ctaim Wentifier for electronic payments in chapter 13 (# you use one),

— ee rm me re ee ere ee eee em ee ee

4. Doesthisclamamend &f no
one already filed? CI Yes. Claim umber on court claims registry (fknown) = __ Fifed on

5. Do you know if anyone a No

alse has fited s proof mada artier
of claim for this claim? +? Yes. Who made the eartier fling?

Official Form 410 Proof of Claim page 1
t

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page23 of 41

», Case 23-15137-KHT Claim9-1 Filed 11/20/23 Desc Main Document Page 2 of 4

[EBB one ermnton ant cto fh te th ane
6. De you have any number

ete

No
you use to kientify the El Von: ats gan nd cn or ay marter you wete simran coonc 3.4 ~=7

How much isthe claim? = ¢ 1,930.00 . Dose this amount include interest or other charges?
No

(CI Yes. Attach statement itemizing interest, fees, expenses, or other
charges required by Banknupicy Rule 3001{c)(2)(A).

= 7 the basis ofthe Examples: Goods sold, money loaned, lease, services performed, peteonal injury or wrongful death, or credit card,
staim Attach redacted copies of any documents supporting the ctaim required by Bankruptcy Rule 3001(c).
Limit disclosing information that is entitled to privacy, such as health care information.

Wages eamed from 01/01/2023-07/31/2023

ts allor part ofthacisim Bj No
secured? Cl Yes. Theclaimis secured by a lien on property.

Nature of property:
C2 Real estate. if the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
Attachment (Officiat Form 410-A) with this Proof of Claim.

CO Motor vehicie
© other. Describe:

Basis for perfection:
Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
example, a mortgage, lien, certificate of title, financing statement, or other document that shows the Ben has
been fited or recorded.)

Value of property: $
Amount of the claim thatis secured:  $

Amount of the claim that is unsecured: § (The sum of the secured and unsecured
amounts should match the amount in line 7.)

Amount necessary to cure any default as of the date of the petition: $

Annual Interest Rate (when case was filed) %

ED Fixed
() variable

10. ts this claim basedona No

lease?
(2 Yes. Amount necessary to cure any default as of the date of the petition.  §

I
11. Is this claim subjecttoa [i No

right of setoff?
C3 Yes. Identify the property:

Piet Ee 20h Roc ee oA
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page24 of 41

+ Case 23-15137-KHT Claim9-1 Filed 11/20/23 Desc Main Document Page 3 of 4

12.\sallorpartoftheclaim 2 no

entitled to priority under
| USC. § 607(a}? Cl Yes. Checkone: Amount entitiod to prtartt
| Acclaim may be partly LJ Domestic support obligations (inchuding alimony and chid support) under ;
| brlority and peitly 17 U.S.C. § 507(a)¢1)(A) or (a)(t)(B).
in some catagories, the ’ QO Up to $2,775" of deposits toward purchase, te2se, or rental of property os services for
law limits the amount personal, family, or household use. 11 U.S.C. § 507(a}{7).
entitled to priority.
Cl wages, salaries, or commissions (up to $12,475") eamed within 180 days before the
bankruptcy petition is filed or tha debtor's business ends, whichever is earllar. s
11 U.S.C. § 507(a)(4).
Cl Taxes or pensities owed to govemmental units. 11 U.S.C. § 507(a)(8). $
C) Contributions to an employes benefit plan. 11 U.S.C. § 507(a)(5). $
(C2 Other. Specify subsection of 11 U.S.C. § 507(a)(__.) that applies.
* Amounts ara subject to adjustment on 4/01/16 and every 3 years after that for cases begun on or afer the date of adjustment
‘Fan | Sign Bolow
this proof of claim must
sign and date It. @ tamthe creditor.
FREP 801 t(b). (2 [am the creditor's attomey or authorized agent.
If you file a oS iam the trustes, or the debtor, of their authorized agent. Bankruptcy Rule 3004.
oe 22) ee courts [1 ! ama guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005,

{o establish local rules

spectyin what a signature sderstand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
. amount of the claim, the creditor gave the debtor credit for any payments received toward the debi,

A person who files a
fraudulent claim could be; have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $560,000, and corect.
imprisoned for up to §

ears, oF both, :
1° U S.C. §§ 152, 187, and { declare under penaity of pedury that the foregoing is true and correct.
3571,

Executed ondate 11/12/2023
Mar oo) wv

_ Aux

Print the name of the person who ts completing and signing this claim:

Name Sally Ann Dudnikoff
Firstname Maddie. name Las! name
Tie Front Desk Receptionist
Company
igentily the comporate senicer as the company If the authorized epent Is a servicer.
Aildices 7475 W2ard. Ave
Number Street
Lakewood co 80214
City State ZIP Code
Contact phone «= 309. 883-5451 Email sashadeal4ms@outiook.com

Se) ASCE irciara

Phen nt oF Mol.

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page25 of 41

BERKEN | CLOYES

Sean Cloyes, Esq.

sean@l

January 17, 2024

Jeanette Sigala
11603 Josephine Street
Thornton, CO 80233

Re: Kelly White
Chapter 13—23-15137

Dear Ms. Sigala:
Greetings. You filed a proof of claim on November 20, 2023.
Unfortunately, it identifies Gesford and not you. I suggest you amend it.

More importantly, I have concerns about the amount you claim is owed. I am
informed that you received $12,000 in 2023. I am unclear whether the amount
you claim is owed ($53,865.25). I ask that you provide an accounting
(calculations) to support your claim. Time is of the essence. Kindly produce that
analysis by Friday, January 19, 2024. An email is fine.

Further, I am informed that the office was operated at a time when it was not in
compliance with OSHA. The breach with the evacuation system was confirmed on
July 5, 2023 by Patterson Dental. (The evacuation system is the high and slow
speed suction that removes water, blood, and other potentially infectious materials
(OPIM) from the mouth during dental procedures.)

The hose from the evacuation system was not connected to a drain, due to
incomplete construction by the contractor, to dispose of the OPIM. Dr. White
placed the evacuation system hose into a plastic bucket in the mechanical closet
and dumped the contents into toilet on a daily basis. These actions allowed the
OPIM to sit in the bucket throughout the day and expose the staff and patients to
various viruses i.e. HIV, Hepatitis B, Hepatitis C, and tuberculosis.

You were informed of this OSHA breach on July 6, 2023 and told not to continue
to schedule patients. However, patients continued to be scheduled “to complete
treatment.” Likely, the breach had existed for several months prior to July 2023.

1159 Delaware Street, Denver, CO 80204 T 303.623.4357 F 720.554.7853
415 W. Bijou St., Colorado Springs, CO 80905 T 719-520-0003
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page26 of 41

. PAGE 2

The only reason patient care at Auraria Dental Oasis ceased was due to the eviction
notice of July 18, 2023. Given your role at the practice, it seems to me you
ignored the OSHA mandates to continue accruing payroll.

Kindly provide me with your position why you are entitled to all of the $53,865.25
at a time you were aware of the violation. I am open to settlement discussions as to

your claim. Call me if you desire.

Sincerely,

/s/ Stephen Berken

cc: White, K.
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page27 of 41

“BERKEN | CLOYES

Stephen E. Berken, Esq. Sean Cloyes, Esq.
stephenberkenlaw: ail.com ean@berkencloyes.com

January 17, 2024 EX C IT Lf

Vicki Gesford
4375 Pierce Street
Denver, CO 80033 via email: vgbzyb@yahoo.com

Re: Kelly White
Chapter 13—23-15137

Dear Ms. Gesford:

Greetings. You filed a proof of claim on November 20, 2023. You indicate you are
owed $21,456.25 of wages.

I have concerns about the amount you claim is owed. I am informed that you
received $13,000 in 2023. Iam unclear whether the amount you claim is owed
(i.e., $21,456.25) is accurate. I ask that you provide an accounting (calculations)
to support your claim. Time is of the essence. Kindly produce that analysis by
Friday, January 19, 2024. An email is fine.

Further, I am informed that the office was operated at a time when it was not in
compliance with OSHA. The breach with the evacuation system was confirmed on
July 5, 2023 by Patterson Dental. (The evacuation system is the high and slow
speed suction that removes water, blood, and other potentially infectious materials
(OPIM) from the mouth during dental procedures.)

The hose from the evacuation system was not connected to a drain, due to
incomplete construction by the contractor, to dispose of the OPIM. Dr. White
placed the evacuation system hose into a plastic bucket in the mechanical closet
and dumped the contents into toilet on a daily basis. These actions allowed the
OPIM to sit in the bucket throughout the day and expose the staff and patients to
various viruses i.e. HIV, Hepatitis B, Hepatitis C, and tuberculosis.

You were informed of this OSHA breach on July 6, 2023 and told not to continue
to schedule patients. However, patients continued to be scheduled “to complete
treatment.” Likely, the breach had existed for several months prior to July 2023.

1159 Delaware Street, Denver, CO 80204 T 303.623.4357 F 720.554.7853
415 W. Bijou St., Colorado Springs, CO 80905 T 719-520-0003
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page28 of 41

Meee ek

-PAGE 2

The only reason patient care at Auraria Dental Oasis ceased operations was due to
the eviction notice of July 18, 2023. Given your role at the practice, it seems
to me you ignored the OSHA mandates to continue accruing payroll.

Kindly provide me with your position why you are entitled to all of the $21,456.25
at a time you were aware of the violation. I am open to settlement discussions as to
your claim. Call me if you desire.

Sincerely,

/s/ Stephen Berken

cc: White, K.
Case:23-15137-KHT Doc#:53 Filed:02/06/24

Entered:02/06/24 15:25:03 Page29 of 41

' * SEQ 000066
Company Code Loc/Dept Number Page i
KL/JDA27087985 017 8666174 lof 1 Earnings Statement Z
KELLY K WHITE DDS
1050 W Colfax Ave Ste G Poraa See 12/01/2022
7 rod ing: 12/15/2022
eed Pay Date: 01/30/2023
7 Filing Status: Married t Zz fr ges
xemplions/Allowances: ax Overnde:
Federal: Std WAH Table Federal: 9.00 Addni Jeanette Sigaia
Slale: 0 State: 0.00 Addn t 108 sea Goas
Local: 0 I: ormton
Social Security Number: XXX-XX-XXXX '
Earnings rate hours/units this period year to date Other Benefits and
Regular 35.0000 69.00 2415.00 2415.00 information this period ___ year to date
Overtime 52.5000 5.50 288.75 288.75 Total Hours Worked 74.50 74.50
Sick 35.0000 24.06 840.00 840.00
Gross Pay $3,543.75 $3,543.75
- eee Deposits
account number transi/JABA amount
Statutory Deductions this period year to date KAXKAXAOS| AXAKARARK 2843.11
Federal Income ie 3a 2 Important Notes
poco = -51.38 51. 38 Basis of pay: Hourly
Colorado State Income -139.43 139.43
Colorado Paid Family 15.95 15.95
Denver Local income ~5.75 5.75
Net Pay $2,843.21

Your lederal taxable wages this period are $3,543.75

Pe Yale y DOCUMENT AU THE NCIr COLOnED AHEA MUST CHANGE I TOdE GRANULE Alle SYS IU MEnod Oeliis af ioe 6o LIGHTS AL BOTTS

KELLY K WHITE -DDS
: 1050 W Collax Ave Ste G
i Denver, CO 80204-2071

x
. att
a
sane accoul number...‘

Pay Date: 01/30/2023

transit/ABA
XXXXXXXXX

amount

2. OORNKOS1 2843.1
—
—

5
a

Earnings

Regular
Overlime
Vacation
Sick
Holiday

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03

SEQ 0060071
Company Code LociDept Number Page
KL/JDAZ?087985 01/ 8666218 1 of 1
KELLY K WHITE DDS
1050 W Colfax Ave Ste G
Denver, CO 80204-2071
Taxable Filing Slatus: Married
Exemptions/Ailowances: Tax Override:
Federal: Std W/H Table Federat: 9.00 Addn!
State: 0 State: 6.00 Addn
Local: 0 Local:
Soctal Securily Number: XXX-XX-XXXX
rate hours/units this period _ year to date
35.0000 40.00 1400.00 3815.00
52.5000 2.25 118.13 406.88
35.0000 40.60 1400.00 1400.00
0.00 840.00
35.0000 8.00 280.00 280.00
Gross Pay $3,198.13 $6,741.88
Statutory Deductions this period year to date
Federal income - ~226.94 495.36
Social Security “198.25 418.00
Medicare ~46.38 97.76
Colorado State Income =124.22 263.65
Colorado Paid Farity 14.39 30.34
Denver Local Income 0.00 5.75
Net Pay $2,587.91
Yaris / COCGUMENT AUTHE ISI (-COLOHEH Afey MUST CHANGES Wi ros &

KELLY K WHITE DDS
1050 W Coifax Ave Sie G
Denver, CO 89204-2071 |

=
e

Deposited to the account
Checking DireciDeposit

Other Banefits and
information this period year to date
Tolal Hours Worked 42.25 116.75
Deposits
account number transivABA amount
XXXXXX4051 XXXKXXXKX 2587.91
Important Notes
Basis of pay: Hourly
Your federal taxable wages ihis period are $3,198.13
ci ADUALLY AIP STSNSs Page OAR Or FOL TEy ar per
Pay Date: 01/30/2023
_.Accobint nunibe ; transit/ABA amount
5 oogeteos: XXXXXXXXX 2587.91

Earnings Statement

Period Starting:
Period Ending:
Pay Date:

12/16/2022
12/3 1/2022
0130/2023

Jeanette Sigala
11603 Josephine St
Thornton, CO 80233

Page30 of 41

LS?
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page31 of 41

DOcU>Ign ENveIope IU: F/3U1920-A0SLU4AAG-HOZU-UE TSUPAZBAFE

302075694 - Zing Credit Union Friday, February 2, 2024 12:05 PM CT
Captured Sequence HL Check Routing# MICR TC Amount Branch Teller Depositor
Date # # Account # Account #
3/23/2023 57631705 o 107005047 9192805235 4112 $500.00 12 1109
82-504/1070 4112 i

KELLY K. WHITE

g04 NEVILLE LN.
GOLDEN, CO 80401 bar? ( AD if 2S |

&?
rAyIO.___ “\.2 ane fo Sst A j1$ 56
TIL CXITL RC No btel a Bee sousate 4 at

4:TBANC==:-

MEMO ye

230700506 7893892805 2450 bib?

NSF

WATS Ler

r ‘ vi Mw y 3 A C) O
zi) =
i nm 32
1 ' | 9 3
I . ae, oS a
! j a & m
im in
. ‘ir 3s HRQe
r 1109 - 137038351 3) F &
2: 03/23/2023 - 18:00:27 é| go o™ x
rig si] 2 wz,
. : 1 § S
} Bier oS b ™ ©
' * F 2 S s a a
: ii 3 | 8
et cl! 9
' mii

Earnings rate bours/units this period year to date Other Benefits and
Regular 20.0006 50.50 1010.00 1010.00 Information this period year to date
Sick 20.0000 8.00 160.00 160.00 Total Hours Worked 50.50 50.50
Gross Pay $1,170.00 $1,170.00
Deposits
Statutory Deducti his periad dat account number transit/ABA amount
atitofy Decuetons hs pes year to date XXXKXK3242 AXXXXXXXX 964,26
Federal income -61.98 61.98
Social Securily ~72.54 72.54 Important Notes
Medicare -16.97 16.97 : F
Colorado Siale Income 43.23 43.23 Basis ol pay: Hourly
Colorado Paid Family -3.27 5.27
Denver Local income -§.75 5.75
Net Pay $964.26
Your federal laxable wages this period are $1,170.00
oh Vern? DOCUME IT AUTHENITICIE: LOHEU AHEA MUST CHANGE In TONE SHAGUALLY auld SYSiof PAGA ani ar for To Lissa ae eorre
KELLY K WHITE’DDS.. ®
4050 W Collax Ave Ste G .
Denver. CO 80204-2071 Pay Date: 01/30/2023
Deposited to the account. > zaccotit ft number. et “" transivABA amount
3p XXXKRXB242 XXXXXXXXX 964.26

Case:23-15137-KHT Doc#:53 Filed:02/06/24

SEQ 000065

Company Code Loc/Dept Number Page
KL/JDA27087985 O1/ 8666173 1 of 1

KELLY K WHITE DDS
1050 W Colfax Ave Ste G
Denver, CO 80204-2071

Taxable Filing Status: Single

Exemplions/Allowances: Tax Override:
Federal: Std W/H Table Federal: 0.00 Addni
Siale: o State: 0.00 Addnl
Local: 0 :

Social Security Number: XXX-XX-XXXX

Checking DireciDeposit * .

Entered:02/06/24 15:25:03 Page32 of 41

Earnings Statement BSD?

Period Slarting: 12/01/2022
Period Ending: 12/15/2022
Pay Date: 01/30/2023

2

Vicki Gesford
4375 Pierce Street
Wheat Ridge, CO 80033

EKHIGIT S

p ae

Case:23-15137-KHT Doc#:53 Filed:02/06/24

SEQ 000070

Company Code Loc/Dept
KL/JDA 27087985 01/
KELLY K WHITE DDS

1050 W Colfax Ave Ste G
Denver, CO 80204-2071

Number Page
8666247 1 of 1

Taxable Filing Status; Single

Entered:02/06/24 15:25:03 Page33 of 41

Earnings Statement BSD
Period Starting: 12 6/2022
Period Ending: 12/31/2022
Pay Date: 01/30/2023

Exemptions/Allowances: Tax Overnde: icki
Federal: Sid WH Table Federal: 0.00 Addi Vicki Gesford
Stale: o State: 0.00 Addni 4375 Pierce Street
Local: 0 Local: Wh idge
Social Security Number: XXX-XX-KXKX eat Ridge, CO 80033
Earnings rales hours/units this period year to date Other Benefits and .
Regular 20.0000 59.50 1190.00 2200.06 Information this period year to date
Sick 0.00 160.00 Total Hours Worked 59.50 130.00
Holiday 20.0000 8.00 160.00 160.06
Gross Pay $1,350.00 $2,520.00
. aes Deposits
account number transivABA amount
Statutory Deductions this period year to date KAKKKKS242 AXAAXAKAN 1105.92
Federal Income 831.58 145.56 Important Notes
Social Security -83.70 156.24 : :
Medicare =19.57 36.54 Basis of pay: Hourly
Colorado State Income ~$1.25 94.38
Colorado Paid Family -6.08 11.35
Denver Local Income 0.00 5.75
Net Pay $1,105.92

Your federal taxable wages this periad are $1,350.00

Denver, CO 80204-2071

Deposited to the account

Se ye

VENE FHOM DANS APTOP To Ciciitsn aT sUrn

t

Pay Date: 01/30/2023

eS r
mf ‘<

Checking DireciDeposil

vx accolint nuniber,. 6 *" qransivABA amount
eat Sr = ~ :
ens eonoeeea2"” XAXXXXAXX 1105.92

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page34 of 41

*¥L2110078c*%
03/28/2023
43L
This is a LEGAL COPY of your
check. You can use it the same

way you would use the origina!
check.

RETURN REASON-A
NOT SUFFICIENT FUNDS

394473875
€121410078621 03/23/2023

NSE
KELLY K. WHITE = 4111
801 NEVILLE LN.
GOLDEN, CO 80101 paw? (22 [ 2%

rar Vicky Gestord 18 5a
tM Gif’ vt Ci =——a DOLLARS & er

LYBANC ----~
se0 a

12070050 769a9 7805235" GLbbb iy

LE LO 7TOOSOGTEUADT2BOSeaASwM Uhhh “O00G050000

i ra ear toca — = wun noe dlibdhdeniiienbtenioreemee

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page35 of 41

. We M. Sigala
a aa \ Ext) (T G

Month Wage Hours Pay Overtime Hours OTWage OT Pay
Jan 35 200 $ 7,000.00 5.75 52.5 S 301.88
Feb 35s: 176.75 $ 6,186.25 8.5 52.5 $ 446.25
March 35 181 $ 6,335.00 8.5 52.5 $ 446.25
April 35 178 $ 6,230.00 13.5 52.5 $ 708.75
May 35 201 $ 7,035.00 13.5 52.5 $ 708.75
June 35 170 $ 5,950.00 40.25 52.5 $ 538.13
july 35 =. 1173.25 $ 6,063.75 6 52.5 $ 315.00
$44,800.00 $3,465.00 $48,265.00
Vacation 35 160 $ 5,600.00 $ 5,600.00

Total $53,865.00
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page36 of 41

Vice GE red XtriBrr &

Month Wage Hours Pay Holiday Wage Pay
Jan 25 116.25 $ 2,906.25 8 25 $ 200.00
Feb 25 85.25 $ 2,131.25 0 25 $ -
March 25 105.25 $ 2,631.25 0 25 $ -
April 25 118.75 $ 2,968.75 0 25 $ -
May 25 122.25 $ 3,056.25 8 25 S$ 200.00
June 25 134.75 $ 3,368.75 0 25 $ -
July 25 72:5 1,800.00 16 25 $ 400.00

$ 18,862.50 $ 800.00
Sick Vacation
Month Wage Hours Pay Wage Hours Pay
Jan 25 os 25 $
Feb 25 24 $ 600.00 25 $
March 25 0s - 25 8 $ 200.00
April 25 0s - 25 0 $ -
May 25 0s - 25 05
June 25 0$ - 25 0$ -
July 25 0$ - 25 48 $1,200.00
June 25 o$ - 25 0$ -

$600.00 $1,400.00

Total $21,662.50
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page37 of 41

 FIRSTBANK
4 PO BOX 150097
LAKEWOOD CO 80215-0097

PAGE 1

24-Hour Customer Service: 303-237-5000

LLM BIT]

or 600-964-3444 outside Denver Metro
New Account or Loan: 303-238-9000
or 877-933-9800 outside Denver Metro
ww. efirstbani.com

-
ACCOUNT
2 page [ aes roxsoocara |
KELLY K WHITE DDS PC >
DBA AURARIA DENTAL OASIS [ Sree I v1.20 |
1391 SPEER BLVD STE 525
DENVER CO 80204-2571 INTEREST v
EARNED N/A
THSYEAR A
ACCOUNT SUMMARY - - CHECKING ACCOUNT - SAFEKEEPING
CLOSING BALANCE FROM PREVIOUS STATEMENT. sesuesssesseovaccsensvassueuessersstesteoes DATE: 6-30-2023 1,445.71
21 DEPOSITS AND OTHER ADDITIONS TOTALING. ..occcsscsssstsssssssessssesersesesescenreevees 10,861.26+
25 CHECKS AND OTHER WITHDRAWALS TOTALING. .......0..ccsccscssscscsceeecessnsnssteee 11,787.82-
CLOSING BALANCE FOR THIS STATEMENT ..u...0.....c-ccecsccscssessecscsuscesssvenssssssesssssvarestesnvarseseee DATE: 7-31-2023 209.45
MINIMUM BALANCE OF 9 38.77) 0 ON... eeesetessssessnses 7-28-2023
CHECKS AND OTHER WITHDRAWALS "SHOWS BREAK IN CHECK NUMBER, #SHOWS NOT MACHINE READABLE
CHECKS... cece AMOUNT....DATE CHECKE. cco secsscseceecosene AMOUDNT....DATE CHECK# Assesses AMOUNT.,..DATE
WT 800.00 7-14 164 2,300.00 7-11 170° 1,000.00 7-28
161* 264.00 7-07 165 175.00 7-18 171 4,000.00 7-27
162 4,100.00 7-07 166 1,000.00 7-20
163 300.00 7-07 167 1,000.00 7-19
ELECTRONIC AND MISCELLANEOUS WITHDRAWALS
DATE.ocscsssen VAMOUINT...DESCRIPTION.......cccccccscccccoceccsccesecccccccucsecsussesessssseusssseuesssssesonssesansveesstsnaesesseses CARD NBR
7-03 24.70 VISA OUTBACK #0620 GOLDEN CO ON 06-30 3709
7-05 51.01 VISA  SUSHINEKO ARVADA CO ON 07-03 3709
7-05 120.15 VISA 8X8, INC. 888-898-8733 CA ON 07-03 1335
7-06 816.60 VISA INSURANCE* DENTIST ADV WWW.HPSOCOVER PAON 07-05 1335
RECURRING PURCHASE
7-10 425.00 VISA STRAUMANN USA, LLC 800-448-1868 MA ON 07-07 1335
7-10 224.41 VISA COMCAST DENVER 800-266-2278 CO ON 07-07 1335
7-10 100.90 VISA KING SOOPERS #00 1331 SPE DENVER CO ON 07-10 3709
7-10 88.52 MonthlyFee CLEARENT LLC 588000000739581
7-14 303.50 VISA THE GENERAL 800 280 146 800-2801486 TN ON 07-10 1335
7-12 13.20 VISA KING SOOPERS #00 1331 SPE DENVER CO ON 07-12 3709
7-13 162.00 VISA  STRAUMANNUSA, LLG 800-448-1868 MA ON 07-12 1335
7-17 4.00 ADP Tax ADP Tax KLJDA 0727340VV
7-28 400.00 ATM 600 N BROADWAY DENVER CO ON 07-28 1335
7-28 72.83 ADPFEES ADPPAYROLLFEES 697093499912
7-31 22.00 ACTIVITY CHARGE
| DEPOSITS AND OTHER ADDITIONS
DATE... TYPE... ecscssesseseeeeesoeeess AMOUNT = DATEL... TYPE. ceececescccseeeee AMOUNT —- DATEL... TYPE. ccccccccccscecccccnsseeesene AMOUNT
7-03 DEPOSIT 226.00 7-12 DEPOSIT 924.00 7-24 DEPOSIT 530.50
7-07 DEPOSIT 390.00 7-19 DEPOSIT 814.50 7-26 DEPOSIT 1,013.75
7-12 OEPOSIT 1200 7-24 DEPOSIT 130.80 7-28 DEPOSIT 100.00
ELECTRONIC AND MISCELLANEOUS ADDITIONS
DATE... AMOUNT...DESCRIPTION. ccc sane CARD NBR
7-05 582.40 Deposits CLEARENT LLC 588000000739581
7-06 216.63 Deposits CLEARENT LLC 588000000739581
7-07 1,637.73 Deposits CLEARENT LLC 588000000739581
7-10 2,044.40 Deposits CLEARENT LLG 588000000739581
7-12 176.35 Deposits CLEARENT LLC §88000000739581
7-413 266.58 Deposits CLEARENT LLC 588000000739581
7-44 1,021.07 Deposits CLEARENT LLC 588000000739581
7-47 480.48 Deposits CLEARENT LLG 588000000739581

***CONTINUED ON NEXT PAGE****
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page38 of 41
W DocuSign Envelope ID. 6997 16FA-556A-402D-OB69-D TAL OOGEGF AG silt iv IEEE rege

EXHIB iTS

A ® innovation Refunds
n n ovat oO Nn 4350 Westown Pkwy Ste 300
def u n d Ss West Des Moines, IA 50266

billing@innovationrefunds.com

Payment is Due 3 Business Days Upon Receipt of Each Refund Invoice

4/24/2023

Kelly K. White D.D.S.
Kelly «. White, D.D.S., PC
1391 Speer Bivd, Suite 525
Denver, CO 80204
ERC-12341179414

RECOVERY DETAILS ELIGIBLE EST. RECOVERY FEE % ESTIMATED FEE
2020 Q2 Employee Retention q $13,555.00 25% $3,388.75
2020 Q3 Employee Retention v $3,260.00 25% $815.00
2020 Q4 Employee Retention v $3,185.00 25% $796.25
2021 Q1 Employee Retention v $22,745.52 25% $5,686.38
2021 Q2 Employee Retention v $28,080.36 25% $7,020.09
2021 Q3 Employee Retention v $19,273.10 25% $4,818.28

TOTAL ANTICIPATED

$90,098.98
RECOVERY

$22,524.75

(in

4/24/2023

ENoHer mem LEm elem ee ECAP Lede A ckec ea] els
eT PRL D f D) Oho} (oF-To ir: mere) eh are) Mm TOLU maT AUT aye ged glsterd (9 ice] mv im Come (Gy

SATUS aCe eLmce. mel ba lems elt e1h qa OU) Ore! a
Ieee Lecce mon N)olLoyate ire Neral) g er, eM mer: AUD CRONIN Cred ie Met TiLo mY COL0 Des Ti ela hze) [o2:)

ii eee m CONG TRO rep aMO) me esha ale mer RMA ol oem Ze 18 i || ie.
REMIT ASRCORCU NEN MTEL Pee Chari eel am ancel ema T UTR sxe OEL

Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page39 of 41

United States Bankruptcy Court

721 19" Street
Denver, CO 80202 t
720 904 7300 oo as
Honorable Judge Kimberely Tyson

FEB - 6 2024
February 6, 2024

U.S. BANKRUPTCY COURT
DISTRICT OF COLORADO

RE: Case #23-15137 Dr. Kelly Kendall White
To whom it may concern:

The former employees of Dr. Kelly Kendall White are hereby filing a formal Objection to the Motion to
Disallow Proof of Claims Ordered by the Court on January 26, 2024 for Creditor #9 Sasha Dudnikoff for the
amount $1930.00, #10 Vicki A Gesford for the amount of $8306.25 and Creditor #11 Jeanette Sigala for
the amount of $12,475.00 with subsequent back wages entered for each under Part 2 section 7.

The determination by Dr. White's attorney, Stephen Berken via emait dated on Wednesday, January 24,
2024 was to claim Dr. White was not our employer pursuant to C.R.S. 8-4-101(6) which is incorrect. Please
see our articles of exhibit proving Dr. White was, in fact, our employer during the time our wages were
earned per C.R.S. 8-4-101 (14} a. and b. and C.R.S. 8-4-101 (15).

Exhibits:

1. Motions to Disallow Proof of Claims lanuary 26, 2024.

2. Letter to Stephen Berken dated August 5, 2023 including our Demand for Demand for Payment of
Wages and a follow up letter to Stephen Berken dated August 8, 2023. A third attempt to collect
our back pay sent to Mr. Berken via email October 29, 2023.

3. Signed Separation Agreements by Dr. Kelly White relieving us of our employment due to the office
closure.

4. Proof of Claims submitted to the Court on November 20, 2023, and a letter from Mr. Berken to
Jeanette Sigala and Vicki Gesford dated January 17, 2024, expressing concerns about the validity
of our POCS and the OSHA Biohazard that was discovered by Patterson Dental on July 6, 2023 and
the subsequent treatment of patients that were waiting on permanent restorations to complete
the cases that had been paid for. tn NO way did we knowingly subject ourselves to the OPIM to
garner or increase our payroll.

5. Attempts for Dr. White to reconcile our payroll for December 1, 2022-December 31, 2022, on
January 30, 2023, via ADP Statements and Direct Deposits showing him to be our employer.
Personal checks in the amount of $500 dated March 22, 2023 that were declined to NSF.
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page40d of 41

6. Excel spreadsheets detailing our earnings from January 1, 203-July 31, 2023.

7. Bank Statement dated July 31, 2023, for Dr. Kelly K. White, D.D.S., B.C. DBA Auraria Dental Oasis.
Proof Dr. White was our employer.

8. Employee Retention Tax Credits that were approved and intended to be used for our wages
through Innovative Refunds that were submitted by the POE (Intandem)} to the IRS who paid Dr.
White’s employes during those quarters initialed and accepted by Dr. White.

We would also tike to Plead and Request our Demand for Payments for our entire earnings be Granted for
the following reasons:
1. Income Tax and potential penalties that may be assessed for non-payment for 2023.

2. Health concerns due to Diabetes and other stresses incurred along with the OPIM exposure from
the unknown OSHA biohazard in the environment for an 18-month period.

3. Undue stress with the financial burden of having to use credit cards and other resources to cover
our lack of income that was promised to us not only by our employer but the owners of the new
LLC that procured and benefitted from Dr. White’s practice and his assets.

4. Unexpected loss of employment and income due to office closure.

We are presenting this letter and all documents to the Court in Person to fulfill our deadline for Objections
of February 28, 2024, and prior to the Amended Chapter 13 Plan to be filed on February 7, 2024.

Please make note of Jeanette’s mailing address since Mr. Berken states he does not have it on file and her
documents were sent to me.

Thank you,
Signed: Signed:
Vicki A. Gesford Jeanette M. Sigala

Dated: 2-4 2Q4jJu Dated: A-6-ZOAY
Case:23-15137-KHT Doc#:53 Filed:02/06/24 Entered:02/06/24 15:25:03 Page41 of 41

Exedib iT |

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

in re:
Bankruptcy Case No. 23-15137 KHT

Dr. Kelly Kendall White,
Chapter 13

Debtor.

ORDER FOR COMPLIANCE WITH APPLICABLE RULES OF PROCEDURE
REGARDING SERVICE AND NOTICE

THIS MATTER comes before the Court on the Motion to Disallow Proof of Claim
No. 11 of Creditor Jeanette M. Sigala filed by Debtor Kelly Kendall White ("Movant") on
January 25, 2024 (Docket No. 42). The Court finds that Movant has failed to comply
with applicable rules of procedure, noted more specifically below:

IX! Fed.R.B.P. 3007 (a)(2)(A): failure to serve a copy of the Claim Objection and
9013 notice on the Claimant by first-class mail to the person most recently
designated on the claimant's original or amended proof of claim as the
person to receive notices.

Accordingly, IT IS HEREBY ORDERED that Movant must cure the above-
noted deficiency by the cure date listed below, failing which the Motion will be denied
without further notice.

Deficiency Cure Date: February 2, 2024,

DATED this 26th day of January, 2024.
BY THE COURT:

Vayebraey H Th —

Kimberley H. Tyson
United States Bankruptcy Judge

